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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

               Plaintiff,

       v.                                                Case No. 93-cr-40050-JPG

DAVID REED,

               Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant David Reed’s motion for leave to

proceed in forma pauperis (Doc. 180) in his appeal of the Court’s April 21, 2010, order

dismissing for lack of jurisdiction Reed’s pro se motion for a reduction of his criminal sentence

pursuant to 18 U.S.C. § 3582(c)(2) and United States Sentencing Guidelines Manual § 1B1.10

(Doc. 166) and granting his counsel’s motion for leave to withdraw (Doc. 172).

       A federal court may permit a party to proceed on appeal without full pre-payment of fees

provided the party is indigent and the appeal is taken in good faith. 28 U.S.C. § 1915(a)(1) &

(3); Fed. R. App. P. 24(a)(3). A frivolous appeal cannot be made in good faith. Lee v. Clinton,

209 F.3d 1025, 1026-27 (7th Cir. 2000). The test for determining if an appeal is in good faith or

not frivolous is whether any of the legal points are reasonably arguable on their merits. Neitzke

v. Williams, 490 U.S. 319, 325 (1989) (citing Anders v. California, 386 U.S. 738 (1967)); Walker

v. O’Brien, 216 F.3d 626, 632 (7th Cir. 2000).

       Reed was sentenced based on an offense level determined by his career offender status,

not his relevant conduct. His guideline range was not lowered by a subsequent amendment to

the guidelines. In light of the Seventh Circuit’s ruling in United States v. Forman, 553 F.3d 585,

589 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009), any argument that this Court has jurisdiction
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to decide Reed’s motion is frivolous. Therefore, the Court CERTIFIES that this appeal is not

taken in good faith and accordingly DENIES the motion for leave to proceed on appeal in forma

pauperis (Doc. 180). The Court DIRECTS the Clerk of Court to send a copy of this order to the

Court of Appeals for the Seventh Circuit.

IT IS SO ORDERED.
DATED: May 14, 2010

                                            s/ J. Phil Gilbert
                                            J. PHIL GILBERT
                                            DISTRICT JUDGE




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